 1
 2
 3
 4
 5
 6                       IN THE UNITED STATES BANKRUPTCY COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8    In re:                                      Chapter71 Proceedings
 9
      FARWEST PUMP COMPANY,                       Case No. 4:17-bk-11112-BMW
10
                                 Debtor.          ORDER
11
12             This matter having come before the Court pursuant to the Fourth and Final
13
      Application for Allowance of Compensation and Reimbursement of Expenses as Counsel for
14
      the Official Committee of Unsecured Creditors [DE 808], no objections having been filed, and
15
16    good cause appearing,

17              IT IS HEREBY ORDERED that the Committee’s Fourth and Final Fee Application
18
      is approved;
19
               IT IS FURTHER ORDERED that compensation for services during this application
20
21    period rendered on behalf of the Committee is approved in the amount of $46,165.00 and costs

22    in the amount of $305.60, for a total of $46,470.60. These fees were incurred in the Chapter
23
      11 case, and shall be allowed as such, with payment to be made according to the priority under
24
      Title 11 of the United States Bankruptcy Code.
25
26                                 SIGNED AND DATED ABOVE

27
28


     Case 4:17-bk-11112-BMW Doc 820-1 Filed 01/15/21 Entered 01/15/21 10:13:42
                          Desc Proposed Order Page 1 of 1
